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Michael J. Brunetto F L E D

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(716) 949-5806 CLERK
US BANKRUPTCY Coun:
Dated: March 22, 2020 DISTRICT OF DEL AWAT:

Hon. Christopher S. Sontchi

Chief United States Bankruptcy Judge

United States Bankruptcy Court for the District of Delaware
824 Market Street, 5 Floor, Courtroom #6

Wilmington, Delaware 19801

Re: Case 20-10036-CSS; Doc 106-1 (Filed 03/16/20)

Hon. Christopher S. Sontchi,

I am respectfully requesting you (your honor) to take consideration in a judgement to include the
REFUNDING of all TOUGH MUDDER 2020 tickets prior to the dissolving of TOUGH
MUDDER INC. (if this occurs).

Furthermore, I am respectfully requesting that you make note of the request herein and bring up

this question to assigned counsel.

The contract signed with TOUGH MUDDER, INC. does not state a refund will not be made in
the event of the company filing bankruptcy.

I am submitting this letter to you (your honor) in case TOUGH MUDDER, INC. decides to alter

their contract without notice due to the letter being sent to their assigned counsel.

I personally purchased a $170.00 ticket for a TOUGH MUDDER 2020 event as well as many

others.

Respectfully,

Michael J. Brunetto

Encl: N/A
ce: N/A
